                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION

    UNITED STATES OF AMERICA,

                 Plaintiff,                      No. 19-CR-4054-LTS-KEM
                                             REPORT AND RECOMMENDATION
    vs.

    GABRIEL MATA-BECERRA,

                 Defendant.
                                 ____________________

          On September 17, 2020, the above-named Defendant appeared before the
undersigned United States Magistrate Judge by consent (Doc. 51) and, pursuant to
Federal Rule of Criminal Procedure 11, pleaded guilty to Count 1 of the Indictment (Doc.
1). Doc. 52.1 After cautioning and examining Defendant under oath concerning each of
the subjects mentioned in Rule 11, I determined that Defendant’s decision to plead guilty
was knowing and voluntary and that each offense pleaded to was supported by an
independent basis in fact containing each of the essential elements of the offense. I
therefore RECOMMEND that the Court ACCEPT Defendant’s guilty plea and adjudge
Defendant guilty.
          At the commencement of the Rule 11 proceeding, I placed Defendant under oath
and explained that if Defendant answered any question falsely, the government could
prosecute Defendant for perjury or for making a false statement. I also advised Defendant
that in any such prosecution, the government could use against Defendant any statements
made under oath.




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  The plea entry deadline for Defendant Mata-Becerra was extended to September 17, 2020.
Docs. 50, 52.



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      I then asked Defendant a number of questions to ensure Defendant had the requisite
mental capacity to enter a plea. I elicited Defendant’s full name, age, and extent of
education. I also inquired into Defendant’s history of mental health issues, use of drugs
and alcohol, and current use of medications. From this inquiry, I determined Defendant
was not suffering from any mental disability or other issue that would impair Defendant’s
ability to make a knowing, intelligent, and voluntary guilty plea.
      Defendant acknowledged receipt of a copy of the Indictment and further
acknowledged that Defendant had fully discussed the Indictment with Defendant’s
counsel. Defendant acknowledged that Defendant had fully conferred with counsel prior
to deciding to plead guilty and that Defendant was satisfied with the representation
provided by Defendant’s counsel.
      I fully advised Defendant of all the rights Defendant would be giving up if
Defendant decided to plead guilty, including:
      1.     The right to assistance of counsel at every stage of the case;

      2.     The right to a speedy, public trial;

      3.     The right to have the case tried by a jury selected from a cross-section of
             the community;

      4.     That Defendant would be presumed innocent, and would be found not guilty
             unless the government could prove each and every element of the offense
             beyond a reasonable doubt;

      5.     Defendant would have the right to see and hear all the government’s
             witnesses, and Defendant’s attorney would have the right to cross-examine
             any witnesses called by the government;

      6.     That Defendant would have the right to subpoena witnesses to testify at the
             trial and if Defendant could not afford to pay the costs of bringing these
             witnesses to court, then the government would pay those costs;

      7.     That Defendant would have the privilege against self-incrimination; i.e.,
             Defendant could choose to testify at trial, but need not do so; if Defendant
             chose not to testify, then the Court would instruct the jury that it could not
             consider or discuss Defendant’s decision not to testify;
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       8.     That any verdict by the jury would have to be unanimous;

       9.     That Defendant would have the right to appeal, and if Defendant could not
              afford an attorney for the appeal, then the government would pay the costs
              of an attorney to prepare the appeal.

       I explained that if Defendant pleaded guilty, Defendant would be giving up all of
these rights, there would be no trial, and Defendant would be adjudged guilty just as if
Defendant had gone to trial and a jury returned a guilty verdict against Defendant.
Defendant acknowledged Defendant understood each of these rights and that Defendant
would be waiving these rights by pleading guilty.
       I determined that Defendant was not pleading guilty pursuant to a plea agreement.
       I summarized the charge against Defendant and listed the elements. I determined
that Defendant understood each and every element, and Defendant’s counsel confirmed
that Defendant understood these elements. I elicited a full and complete factual basis for
all elements of the crime to which Defendant was pleading guilty. Defendant’s attorney
indicated that each offense to which Defendant was pleading guilty was factually
supported.
       I explained to Defendant that the district judge would determine the appropriate
sentence at the sentencing hearing. I explained that the Court will use the advisory United
States Sentencing Guidelines to determine Defendant’s sentence. I explained that the
sentence imposed might be different from what the advisory guidelines suggested it
should be, and may be different from what Defendant’s attorney had estimated. I
explained that a United States Probation Officer would prepare a written presentence
investigation report to assist the Court at sentencing and that Defendant and Defendant’s
counsel would have an opportunity to read the presentence report before the sentencing
hearing, and would have the opportunity to object to the contents of the report. I further
explained that Defendant and Defendant’s counsel would be afforded the opportunity to
present evidence and be heard at the sentencing hearing.

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       I advised Defendant of the consequences of each guilty plea, including the
maximum fine, the maximum term of imprisonment, the mandatory minimum term of
imprisonment, the term of supervised release, and the possibility that restitution may be
ordered. Specifically, I advised Defendant Count 1 is punishable by:
               mandatory minimum term of imprisonment          10 years;
               maximum term of imprisonment                    life;
               maximum fine                                    $10,000,000.00;
               minimum term of supervised release              five years;
               maximum term of supervised release              life.
       I advised Defendant that there is no parole in the federal system. I also advised
Defendant that the Court will impose a mandatory special assessment of $100.00, which
Defendant must pay. I further advised Defendant of the collateral consequences of
pleading guilty.
       Defendant acknowledged understanding the consequences and penalties associated
with a guilty plea.
       I explained that the Court will impose conditions of supervised release, and that if
Defendant violates any condition of supervised release, then the Court could revoke
Defendant’s supervised release and require Defendant to serve all or part of the term of
supervised release in prison, without credit for time previously served on supervised
release.
       I also explained that both Defendant and the government would have the right to
appeal the sentence.
       Defendant confirmed that the decision to plead guilty was voluntary and was not
the result of any promises, and the decision to plead guilty was not the result of anyone
threatening, forcing, or pressuring Defendant to plead guilty. I explained that after the
district judge accepted Defendant’s guilty plea, Defendant would have no right to later
withdraw that plea, even if the sentence imposed was different from what Defendant
anticipated.


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      Defendant confirmed that Defendant still wished to plead guilty, and Defendant
pleaded guilty to Count 1 of the Indictment.
      I find the following with respect to the guilty plea:
      1.     Defendant’s plea is voluntary, knowing, not the result of force, threats or
             promises, and Defendant is fully competent.

      2.     Defendant is aware of the minimum and maximum punishment.

      3.     Defendant knows of and voluntarily waived Defendant’s jury trial rights.

      4.     There is a factual basis for the plea.

      5.     Defendant is guilty of each crime to which Defendant pleaded guilty.

      I explained that the parties have 14 days from the filing of this Report and
Recommendation to file any objections to my findings, and that if no objections are made,
then the district judge may accept Defendant’s guilty plea by simply entering a written
order doing so.
      United States v. Cortez-Hernandez, 673 Fed. App’x 587 (8th Cir. 2016) (per
curiam), suggests that a Defendant may have the right to de novo review of a magistrate
judge’s recommendation to accept a plea of guilty even if no objection is filed. But see
28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). The district court judge will undertake
a de novo review of the Report and Recommendation if a written request for such review
is filed within 14 days after this report and recommendation is filed.
      Defendant shall remain detained pending sentencing
DONE AND ENTERED this 18th day of September, 2020.


                                                Kelly K.E. Mahoney
                                                Chief United States Magistrate Judge
                                                Northern District of Iowa




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